Audio 5 597 Gallas, Ro 04042008 03 809867 - release
AudioClerk Transcription




Officer Gallas:         [inaudible 00:00:01] driver? [inaudible 00:00:03]. Okay now. Okay.
                        I’m going with you. Give me another [inaudible 00:00:10].
Male:                   What house did they come out of? What house did they come out of?
Officer Gallas:         Where were you when you got shot?
David Bergerson:        [inaudible 00:00:21].
Officer Gallas:         The white one there? Or the one –
David Bergerson:        The one where everyone's at, the green trim.
Male:                   The one right here in the corner or the one [inaudible 00:00:28]?
David Bergerson:        The one right [inaudible 00:00:29] down there.
Male:                   The one with the lights on it?
David Bergerson:        No.
Male:                   This one right here?
David Bergerson:        Next to it. But [inaudible 00:00:36].
Male:                   [inaudible 00:00:35] backup?
David Bergerson:        Yeah. That’s where they came out [inaudible 00:00:39].
Male:                   How old are you?
David Bergerson:        Twenty-three.
Male:                   Are you breathing all right?
David Bergerson:        Yeah, I’m fine.
Male:                   Okay. All right, dude. Take some deep breaths for me. Deep breaths.
Officer Gallas:         So you were downstairs?
David Bergerson:        Yeah, I heard lots of people walking around upstairs and it didn’t
                        sound right. [inaudible 00:01:08]. I could hear nothing on the baby
                        monitor. So [inaudible 00:01:10] my girlfriend so I went upstairs and
                        as I opened the basement door, [inaudible 00:01:13] asked me if I
                        wanted to live. I said, “Yeah,” and I was like, [inaudible 00:01:22]
                        he took me downstairs. So I was like all right. And I don’t think he
                        had anything with him, but still at the time fuckin’ -
Officer Gallas:         And do you know these guys? No? You get in a fight with anybody
                        else anywhere?

                                                                                            1
Audio 5 597 Gallas, Ro 04042008 03 809867 - release
AudioClerk Transcription




David Bergerson:        [inaudible 00:01:42].
Officer Gallas:         Anything today?
David Bergerson:        No. [inaudible 00:01:45] been. I’ve been working.
Officer Gallas:         All right. What’s your last name again?
David Bergerson:        Bergerson.
Officer Gallas:         How do you spell that?
David Bergerson:        B E R G E R S O N.
Officer Gallas:         And your first name again?
David Bergerson:        David.
Officer Gallas:         And your middle initial?
David Bergerson:        C. I know I got someone. I had a knife and I stabbed them in the leg.
                        I know that.
Officer Gallas:         You stabbed somebody in the leg?
David Bergerson:        [inaudible 00:02:10].
Officer Gallas:         What’s the address where you live?
David Bergerson:        810 South Orchard Street.
Officer Gallas:         So when did you – when did you stab somebody in the leg? After
                        they shot you?
David Bergerson:        No. That's what caused me to be shot.
Officer Gallas:         So you hit someone in the leg and then they shot you?
David Bergerson:        Yeah, [inaudible 00:02:42] with my friend so I had to do something
                        about that.
Officer Gallas:         So I’m kind of confused as far as the timeline goes.
David Bergerson:        All right. Well, I ran inside to tell my girlfriend that, hey, there’s a
                        problem here. So I gave her my baby – our baby, locked her in our
                        room, and then I came outside and then stuff going down. So I ran
                        up and I got him in his leg and then I got shot.
Officer Gallas:         That’s when [inaudible 00:03:06]? How many people were there?
David Bergerson:        [inaudible 00:03:12].


                                                                                                   2
Audio 5 597 Gallas, Ro 04042008 03 809867 - release
AudioClerk Transcription




Officer Gallas:         Pardon? How many people were there that were fighting you?
David Bergerson:        Just two.
Officer Gallas:         So two people?
David Bergerson:        Well, I came out and then two of them ran away because I came
                        outside. And then one was still on the ground with Ryan.
Officer Gallas:         Was Ryan the other guy that got hit?
David Bergerson:        Yeah. He’s [my roommate 00:03:28].
Officer Gallas:         So there was three people at your house? Yeah?
David Bergerson:        Yeah. Three [inaudible 00:03:36] guys.
Officer Gallas:         What were they saying to you when they came?
David Bergerson:        Well, all they pretty much said is if you want to live, then look at the
                        ground. And where’s the money? They went through the drawers
                        and that was about it. And then they got real serious and then made
                        us look at the ground, then they ran upstairs.
Officer Gallas:         In the house?
David Bergerson:        Yeah. And then [inaudible 00:03:59].
Officer Gallas:         You ran into the house after them?
David Bergerson:        Yeah. Out of the house. Because we were downstairs when it
                        happened. We were forced to look at the ground –
Officer Gallas:         Okay, in the house?
David Bergerson:        In the house, downstairs and then they didn’t get what they wanted,
                        so they left. And they ran upstairs and Ryan ran after them. And I
                        don't know which one – I don't know.
Officer Gallas:         Okay. I’m just going to go through so I understand it. So all of this
                        happened inside the house?
David Bergerson:        Yeah. Except outside when I got shot and the other guy [inaudible
                        00:04:33].
Officer Gallas:         So these guys show up outside? These guys showed up outside?
                        They got in a fight with Ryan outside?
David Bergerson:        No, we got one down. We got one down and then [inaudible
                        00:04:47].


                                                                                                3
Audio 5 597 Gallas, Ro 04042008 03 809867 - release
AudioClerk Transcription




Officer Gallas:         [inaudible 00:05:06] want to make sure you’re [inaudible 00:05:14]
                        understand it pretty good. So you were downstairs. You heard
                        something going on upstairs. You went outside, is that correct?
David Bergerson:        No, I went upstairs to my level of the house and I opened the
                        basement door to see [inaudible 00:05:32] the front door where these
                        guys were at. [inaudible 00:05:34] I’m here and then you go inside a
                        little bit, and then you turn left and there’s a door that goes down to
                        the basement, and that’s where my roommate lives. And then when I
                        went up [inaudible 00:05:46] I opened that door a little bit and
                        someone popped up and said, “Do you want to live?” That’s when I
                        [inaudible 00:05:52] fuckin’ downstairs, told them – told Ryan what
                        was going on and that’s when they made us go to the ground. That’s
                        when they made us [inaudible 00:06:01] the ground and they ran
                        through everything looking for money and shit, whatever they were
                        looking for. Anything he could get his hands on but couldn’t find
                        any money. So –
Officer Gallas:         Was this before you hit him in the leg – stabbed him in the leg?
David Bergerson:        Yeah. Well, we were surprised at the moment still. And then they
                        didn’t find – they ran upstairs. I went outside right after them.
Officer Gallas:         So you chased them out of the house? Okay. [inaudible 00:06:32].
                        So you chased them out of the house. That’s when Ryan tackled one
                        of the guys? And then you stabbed one of them in the leg and then
                        they shot?
David Bergerson:        Yes.
Officer Gallas:         And then they left?
David Bergerson:        And that’s when I ran outside and told my girlfriend to call you
                        guys. Before she got to the phone you guys were here. I knew
                        [inaudible 00:07:10] at the time when I heard [inaudible 00:07:13]
                        fuckin’ shot [inaudible 00:07:14].
Officer Gallas:         How close were they when they shot you?
David Bergerson:        Closer than I am [inaudible 00:07:20] that far. Close enough.
Officer Gallas:         How did you know it was a nine that they shot you with?
David Bergerson:        The sound of it.
Officer Gallas:         Did you see the [inaudible 00:07:33]?
David Bergerson:        [inaudible 00:07:34].


                                                                                              4
Audio 5 597 Gallas, Ro 04042008 03 809867 - release
AudioClerk Transcription




[00:08:00]
[End of Transcript]




                                                      5
